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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


  ROBIN JOACHIM DARTELL, et al.,
  individually and on behalf all others
  similarly situated,
                                                                   Civil Action No. 14-3620
                 Plaintiffs,
                                                                           ORDER
         V.


  TIBET PHARMACEUTICALS, INC., et
  al.,

                 Defendants.


        This matter comes before the Court by way of the motions for summary judgment brought

 by Defendants L. McCarthy Downs, III and Hayden Zou. D.E. 207, 210. Plaintiffs filed briefs in

 opposition to which Defendants replied.           D.E. 227, 231, 240, 245.     The Court reviewed the

 submissions in support and in opposition, and considered the motions without oral argument

 pursuant to Fed. P.. Civ. P. 78(b) and L. Civ. R. 78.1(b). For the reasons set forth in the Court’s

 Memorandum Opinion accompanying this Order, and for good cause shown,

        IT IS on this 10th day of May, 2017

        ORDERED that Defendants’ motions (D.E. 207, 210) are GRANTED in part and

 DENIED in part; and it is further

        ORDERED that Downs’ motion is GRANTED with respect to his liability as an

 underwriter pursuant to 15 U.S.C.      §   77k(a)(5); and it is further

        ORDERED that both Defendants’ motions are GRANTED with respect to their liability

 pursuant to 15 U.S.C.   §   77k(a)(2); and it is further
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           ORDERED that both Defendants’ motions are DENIED with respect to their liability

 pursuant to 15 U.S.C.   § 77k(a)(3) and their due diligence defense under this subsection; and it is
 further

           ORDERED that the following Plaintiffs are dismissed from this matter due to lack of

 standing: Jude Shao, Jason Helton, and Ming Yang.




                                               John Michael Vazqi6, S.D.J.
